
954 So.2d 697 (2007)
Larry D. MULLINS, Appellant,
v.
STATE of Florida, Appellee.
No. 3D07-46.
District Court of Appeal of Florida, Third District.
April 18, 2007.
Rehearing Denied May 18, 2007.
Larry D. Mullins, in proper person. Bill McCollum, Attorney General, for appellee.
Before GERSTEN, FLETCHER, and LAGOA, JJ.
PER CURIAM.
Affirmed. See Mullins v. State, 31 Fla. L. Weekly D1933, ___ So.2d ___, 2006 WL 1999473 (Fla. 3d DCA, July 19, 2006).
